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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                    Plaintiffs,                    Civil Action No. 21-3354 (BAH)

                    v.                             Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                    Defendant.



                    DEFENDANT’S AMENDED NOTICE OF APPEAL


       Notice is hereby given that Rudolph W. Giuliani, Defendant in the above-captioned case,

hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from

the Final Judgment [Document 142] entered in this action on December 18, 2023, the Order

denying Defendant’s renewed motion for judgment as a matter of law [Document 158] entered

on April 15, 2024, and the Memorandum Opinion regarding Defendant’s renewed motion for

judgment as a matter of law [Document 159] entered on April 15, 2024.



                                                    CAMARA & SIBLEY LLP


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of May, 2024, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which I understand to have caused service on
all counsel of record.

                                                      /s/ Joseph D. Sibley
                                                      Joseph D. Sibley




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